                         Case 3:21-cv-03013-SI Document 8 Filed 04/30/21 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Northern District
                                                __________  District of
                                                                     of California
                                                                        __________

                                                                   )
                                                                   )
  A1 On Track Sliding Door Repair and Installation,                )
      Inc., Sylvia Schick, and Deborah Schick
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                                      Civil Action No. 3:21-cv-03013-SK
                                                                   )
                                                                   )
                                                                   )
                        BrandRep, LLC                              )
                                                                   )
                           Defendant(s)                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       BrandRep, LLC
                                       16812 Armstrong Avenue, Suite 200
                                       Irvine, CA 92606




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Rebecca Davis (SBN 271662)
                                       rebecca@lozeaudrury.com
                                       LOZEAU DRURY LLP
                                       1939 Harrison St., Ste. 150
                                       Oakland, CA 94612
                                       Telephone: (510) 836-4200

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


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             4/30/2021                                                                                           Thelma Nudo
                                                                                                      OR




Date:
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                                                                                        C                         Signature of Clerk or Deputy Clerk
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 Civil Action No. 3:21-cv-03013-SK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
